Dear Secretary Carnahan:
This office is in receipt of your letter of November 3, 2005, submitting to us a summary statement prepared under Section116.334, RSMo, for a constitutional amendment allowing candidates to file with multiple political parties. The proposed summary statement is as follows:
  Shall the Missouri Constitution be amended to allow a candidate for elective office to receive the nomination of multiple political parties, provided that a candidate may receive no more than one vote per ballot for each office sought and that for the purpose of determining a political party's eligibility to be automatically listed on future ballots, each vote for a party's candidates shall be tallied separately?
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the resolution, nor as the expression of any view regarding the objectives of its proponents.
Very truly yours,
  Jeremiah W. (Jay) Nixon Attorney General